        Case 4:23-cv-04155-YGR Document 262-5 Filed 04/19/24 Page 1 of 2




 1                           IN THE UNITED STATES DISTRICT COURT

 2                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 3

 4    CALIFORNIA COALITION FOR WOMEN                        Case No. 4:23-CV-04155-YGR
      PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
 5    A.S.; and L.T., individuals on behalf of themselves   [PROPOSED] ORDER TO SHOW
      and all others similarly situated,                    CAUSE REGARDING PLAINTIFFS
 6                                                          MOTION FOR TEMPORARY
                    Plaintiffs,                             RESTRAINING ORDER
 7
             v.
 8                                                          Judge: Hon. Yvonne Gonzalez Rogers
      UNITED STATES OF AMERICA FEDERAL
 9    BUREAU OF PRISONS, et al.,                            Hearing Date: April 19, 2024

10                  Defendants.                             Hearing Time: 7:00 AM

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     [Proposed] Order To Show Cause re Plaintiffs’ TRO             Case No. 4:23-CV-04155-YGR
        Case 4:23-cv-04155-YGR Document 262-5 Filed 04/19/24 Page 2 of 2




 1          The Court issues this order for the Federal Defendants to show cause on April 19, 2024 at

 2   7:00am why Plaintiffs’ Proposed Temporary Restraining Order (“TRO”) should not be granted.

 3          Defendant shall file any written response to Plaintiffs’ TRO by __________. Plaintiffs

 4   shall file any reply in support by __________.

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 6          IT IS SO ORDERED.
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     Dated: _______________, 2024                ______________________________________
 9                                               The Honorable Yvonne Gonzalez Rogers
                                                 United States District Judge
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     [Proposed] Order To Show Cause re Plaintiffs’ TRO               Case No. 4:23-CV-04155-YGR
